      Case 1:22-md-03038-CFC-EGT                          Document 424              Filed 12/13/24           Page 1 of 2 PageID #:
                                                                8456
AO 120 (Rev. 08/10)

                            Mail Stop 8                                                     REPORT ON THE
TO:
         Director of the U.S. Patent and Trademark Office                           FILING OR DETERMINATION OF AN
                           P.O. Box 1450                                            ACTION REGARDING A PATENT OR
                    Alexandria, VA 22313-1450                                                 TRADEMARK

                 In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
         filed in the U.S. District Court                     for the District of Delaware                             on the following
      G Trademarks or         G Patents.    ( G the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                        DATE FILED                      U.S. DISTRICT COURT
 22-1040, 22-3038-MDL                      3/18/2022                                      for the District of Delaware
PLAINTIFF                                                                 DEFENDANT

 NOVO NORDISK INC. and NOVO NORDISK A/S                                     MYLAN PHARMACEUTICALS INC.



        PATENT OR                      DATE OF PATENT
                                                                                     HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 8,114,833 B2                             2/14/2012                Novo Nordisk A/S

2 8,129,343 B2                              3/6/2012                Novo Nordisk A/S

3 8,536,122 B2                             9/17/2013                Novo Nordisk A/S

4 8,684,969 B2                              4/1/2014                Novo Nordisk A/S

5 8,920,383 B2                             12/30/2014               Novo Nordisk A/S


                                In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
        3/21/2023
                                                       G Amendment            G Answer          G Cross Bill        G Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                     HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 11,311,679 B2                            4/26/2022                 Novo Nordisk A/S

2 11,446,443 B2                            9/20/2022                 Novo Nordisk A/S

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                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT

    See attached Stipulation of Dismissal signed by Chief Judge Connolly on 12/13/2024



CLERK                                                      (BY) DEPUTY CLERK                                            DATE
    Randall C. Lohan                                        /s/ M. Shyer                                                12/13/2024

Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy
     Case 1:22-md-03038-CFC-EGT                    Document 424              Filed 12/13/24               Page 2 of 2 PageID #:
                                                         8457



                             ADDENDUM TO AO 120 (ADDITIONAL PATENTS)

DOCKET NO.                   DATE FILED                    U.S. DISTRICT COURT
22-1040, 22-3038-MDL                3/18/2022                                     for the District of Delaware
PLAINTIFF                                                           DEFENDANT

NOVO NORDISK INC. and NOVO NORDISK A/S                              MYLAN PHARMACEUTICALS INC.




        PATENT OR                DATE OF PATENT
                                                                              HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.              OR TRADEMARK

6     9,108,002 B2                  8/18/2015              Novo Nordisk A/S
7     9,132,239 B2                  9/15/2015              Novo Nordisk A/S
8     9,457,154 B2                  10/4/2016              Novo Nordisk A/S
9     9,616,180 B2                  4/11/2017              Novo Nordisk A/S
10    9,687,611 B2                  6/27/2017              Novo Nordisk A/S
11    9,775,953 B2                  10/3/2017              Novo Nordisk A/S
12    9,861,757 B2                   1/9/2018              Novo Nordisk A/S
13    10,220,155 B2                  3/5/2019              Novo Nordisk A/S
14    10,335,462 B2                  7/2/2019              Novo Nordisk A/S
15    10,357,616 B2                 7/23/2019              Novo Nordisk A/S
16    10,376,652 B2                 8/13/2019              Novo Nordisk A/S
17    11,097,063 B2                 8/24/2021              Novo Nordisk A/S
18    RE46,363 E                    4/11/2017              Novo Nordisk A/S



                      In the above—entitled case, the following patent(s)/ trademark(s) have been included:

DATE INCLUDED                INCLUDED BY
                                           Amendment                     Answer              Cross Bill         Other Pleading

        PATENT OR                DATE OF PATENT
                                                                              HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.              OR TRADEMARK

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